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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

ANAS ELHADY;                                     )
                                                 )
       Plaintiff,                                )      Case No. 17-cv-12969
v.                                               )      Hon. Mark A. Goldsmith
                                                 )      Mag. Anthony P. Patti
MATTHEW PEW;                                     )
BLAKE BRADLEY;                                   )
JOSEPH PIRANEO;                                  )
DANIEL BECKHAM;                                  )
TONYA LAPSLEY;                                   )
NYREE IVERSON;                                   )
WALTER KEHR;                                     )
SCOTT ROCKY;                                     )
JASON FERGUSON;                                  )
in their individual capacities, only;            )
                                                 )
       Defendants.                               )
________________________________________________________________________________________/

                        PROOF OF SERVICE OF SUMMONS

      Plaintiff, Anas Elhady, by and through his attorneys, CAIR Legal Defense

Fund (“CAIR”) hereby attaches three proofs of service of summons by hand, as

to individual defendants Tonya Lapsley, Blake Bradley, and Scott Rocky.

                                                     Respectfully submitted,

                                                     CAIR LEGAL DEFENSE FUND

                                                     BY:   /s/ Lena Masri
                                                     LENA F. MASRI (P73461)
                                                     GADEIR I. ABBAS (VA: 81161)


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                                             AHMED M. MOHAMED (LA:
                                             36590)
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                                             Washington, DC 20003
                                             Phone: (202) 488-8787

                                             Gadeir Abbas is licensed in VA,
                                             not in D.C. Practice limited to
                                             federal matters. He is admitted
                                             to practice in this Court.

                                             Ahmed Mohamed is licensed in
                                             LA & NY, not in D.C. Practice
                                             limited to federal matters. He is
                                             admitted to practice in this
                                             Court.


Dated: July 23, 2018




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                               Exhibit A
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                               Exhibit B
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                               Exhibit C
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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 23, 2018, I electronically filed the foregoing

document with the Clerk of the Court for the Eastern District of Michigan using

the ECF System, which will send notification to the registered participants of

the ECF System as listed on the Court’s Notice of Electronic Filing.


                                            /s/ Lena Masri
